  Case 1:19-cv-01855-LPS Document 8 Filed 10/08/20 Page 1 of 4 PageID #: 158




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE




 IN RE ZIMMER BIOMET HOLDINGS,                      No.: 1:19-cv-01855-LPS
 INC. FEDERAL DERIVATIVE
 LITIGATION


          [PROPOSED] STIPULATED ORDER STAYING ALL PROCEEDINGS

       WHEREAS, on October 29, 2019, this Court ordered the consolidation of Plaintiff Alex

DiGaudio’s and Plaintiff Howard Karp’s verified stockholder derivative complaints that were

previously filed in this Court (see D.I. 3);

       WHEREAS, on September 14, 2020, Plaintiffs Alex DiGaudio and Howard Karp (the

“Lead Plaintiffs”) filed an Amended Verified Stockholder Derivative Complaint (the “Amended

Complaint”) alleging claims on behalf of nominal defendant Zimmer Biomet Holdings, Inc.

(“Zimmer”) against David C. Dvorak, Daniel P. Florin, Tony W. Collins, Larry Glasscock,

Christopher B. Begley, Betsy J. Bernard, Paul M. Bisaro, Gail K. Boudreaux, Michael J. Farrell,

Robert A. Hagemann, Arthur J. Higgins, Michael W. Michelson, Cecil B. Pickett, Jeffrey K.

Rhodes, KKR Biomet LLC, TPG Partners IV, L.P., TPG Partners V, L.P., TPG FOF V-A, L.P.,

TPG FOF V-B, L.P., TPG LVB Co-Invest LLC, TPG LVB Co-Invest II LLC (collectively, the

“Defendants”);

       WHEREAS, this Action is related to a shareholder securities class action in the U.S.

District Court for the Northern District of Indiana, captioned Shah et al. v. Zimmer Biomet

Holdings, Inc., et al., No 3:16-cv-00815-PPS-MGG, which has recently settled, and a consolidated

shareholder derivative action pending in the Delaware Court of Chancery, captioned In re Zimmer




                                               1
  Case 1:19-cv-01855-LPS Document 8 Filed 10/08/20 Page 2 of 4 PageID #: 159




Biomet Holdings, Inc. Derivative Litigation, Consol. C.A. No. 2019-0455-AGB (the “State

Derivative Action”);

       WHEREAS, on September 14, 2020, the Defendants filed motions to dismiss the State

Derivative Action pursuant to Court of Chancery Rules 23.1 and 12(b)(6);

       WHEREAS, Lead Plaintiffs and Defendants have agreed to a stay of all proceedings in this

Action pending a final decision of the motions to dismiss in the State Derivative Action;

       WHEREAS, both parties agree that they reserve all rights concerning the implications with

respect to this Action of the ruling in the State Derivative Action;

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the parties

hereto, through their undersigned counsel, subject to the approval of the Court, as follows:

       1.      This Action is STAYED pending a final decision of the motions to dismiss in the

State Derivative Action.

       2.      Following a final decision of the motions to dismiss in the State Derivative Action,

Lead Plaintiffs and Defendants will have twenty (20) days to notify the Court of the final decision

and propose a scheduling order governing further proceedings in this Action.



Dated: October 8, 2020

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                                                 2
 Case 1:19-cv-01855-LPS Document 8 Filed 10/08/20 Page 3 of 4 PageID #: 160




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                                           3
 Case 1:19-cv-01855-LPS Document 8 Filed 10/08/20 Page 4 of 4 PageID #: 161




(212) 905 0509

Lead Counsel for Plaintiffs


      IT IS SO ORDERED this _____ day of _____, 2020.



                                _________________________________
                                      Judge Leonard P. Stark




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